Case 1:25-cv-01665-MJM   Document 1-4   Filed 05/23/25   Page 1 of 2




 EXHIBIT D
         Case 1:25-cv-01665-MJM         Document 1-4       Filed 05/23/25      Page 2 of 2




Joshua J. Gayfield
(410) 385-3734
jgayfield@milesstockbridge.com


August 12, 2024

VIA FAX: 888-850-0320
Timothy Bauer, Supervisory Internal Revenue Agent
Department of the Treasury
Internal Revenue Service – Small Business/Self-Employed Division
2670 Industrial Highway
York, PA 17402

Re:      July 8, 2024 Determination Letter to Mark Foster (Last 4 of ID:           )

Dear Agent Bauer:

As you know, our firm represents Mark Foster (“Mr. Foster”). Please accept this correspondence
as Mr. Foster’s written rebuttal to the IRS’s July 8, 2024 determination letter, including the
Explanation of Items and Computation of Penalty enclosed therewith, regarding its position that
the penalty under IRC Section 6701 is applicable to Mr. Foster.

Mr. Foster respectfully disputes the IRS’s position that he is liable for any penalty assessed under
IRC Section 6701, as well as the facts which the IRS claims support each element required by
the rule. The IRS’s determination letter contains many misstatements of fact (including gross
mischaracterizations of Mr. Foster’s statements during his interview) and misapplications of law,
many of which Mr. Foster and/or his employer, Second Chance, Inc., have previously brought to
the IRS’s attention in various, prior proceedings. Accordingly, Mr. Foster requests that the IRS
promptly close its investigation without assessing any penalty. Should the IRS nonetheless elect
to issue a penalty assessment notice consistent with its July 8, 2024 determination letter, Mr.
Foster requests that it do so promptly so that he may avail himself of all available rights and
remedies, including the special administrative provisions of IRC Section 6703.

We thank you for your consideration, and look forward to hearing from you shortly regarding the
closure of your investigation.

Very truly yours,




Joshua J. Gayfield

cc: Agent Donna Lamonna (via fax)




101898\000048\4875-4121-8262.v3
